       Case 2:19-cv-00159-SRW Document 11 Filed 04/08/19 Page 1 of 1



                    IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLERE          ALABAMA
                              NORTHERN D     I
                                        2019 APR -8 A 11: Li0
DARRYL L. BROWN,                                 )
                                      DEBRA P. HACKETT. CLK
       Plaintiff,                      U.S. DIST !CT COURT
                                       MIDDI E D ,,TRICT ALA
v.                                              ) CASE NO.2:19cv159-SRW
                                                )
FORD MOTOR COMPANY,                             )
                                                )
                                                )
       Defendant.                               )

CONSENT TO JURISDICTION BY.A UNITED STATES.MAGISTRATE JUDGE.

       In accordance with the provisions ofTitle 28,U.S.C.§ 636(c),the undersigned party
or parties to the above-captioned civil matter hereby confirrn in writing their consent to a
United States Magistrate Judge's conducting any and all further proceedings in the case,
including trial, and ordering the entry of a finaljudgment.

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                                   Signature

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                                   Counsel For(print name of party or parties)          C:te(-0.
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                                   Address, City, State, Zip Code-)-B,k                    512-4_3
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                                  Telephone Number


                                   Return form to:
 Debra Hackett, Clerk, United States District Court for the Middle District of Alabama,
                 1 Church Street, B110; Montgomery, Alabama 36104

                                           OR

                 follow instructions in above order to complete online
               IN THE DISTRICT COURT OF THE UNITED STATES
